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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

YVONNE BROWN,                             )
                                          )
      Plaintiff,                          )
                                          )       CIVIL ACTION
v.                                        )
                                          )       FILE No. 1:21-cv-02446-ELR
NORTH GA REAL ESTATE LLC,                 )
                                          )
      Defendant.                          )

       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH
                          PREJUDICE

      COMES NOW, Yvonne Brown, Plaintiff in the above-styled civil action, by

and through the undersigned counsel of record, and files this, pursuant to Fed. R.

Civ. P. 41(a)(1)(A)(i), her Notice of Voluntary Dismissal With Prejudice. Plaintiff

hereby requests that the instant matter be dismissed with prejudice and without an

award of fees or costs to either party.

                                          Dated: July 16, 2021.

                                          Respectfully submitted,

                                          /s/Craig J. Ehrlich
                                          Craig J. Ehrlich
                                          Georgia Bar No. 242240
                                          The Law Office of Craig J. Ehrlich, LLC
                                          1123 Zonolite Road, N.E., Suite 7-B
                                          Atlanta, Georgia 30306
                                          Tel: (404) 365-4460

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                                       Fax: (855) 415-2480
                                       craig@ehrlichlawoffice.com

                         CERTIFICATE OF SERVICE

      I certify that on July 16, 2021, I filed the within and foregoing Notice of

Voluntary Dismissal With Prejudice using the CM/ECF System for the federal

District Court for the Northern District of Georgia. A true and correct copy of the

same will also be served via electronic mail, as follows:

Victor W. Newmark, Esq.
Wiles and Wiles, LLP
800 Kennesaw Avenue, Suite 400
Marietta, Georgia 30060
vnewmark@evict.net

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman and

a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




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